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                 IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

STATE OF UTAH, by and through its Governor,
SPENCER J. COX,
and its Attorney General, SEAN D. REYES, et al.,

                     Petitioners,
                                                             No. 23-1102
            v.

U.S. ENVIRONMENTAL PROTECTION AGENCY
and MICHAEL S. REGAN, Administrator, U.S. EPA,

                     Respondents.

STATE OF UTAH, by and through its Governor,
SPENCER J. COX,
and its Attorney General, SEAN D. REYES, et al.,

                     Petitioners,
                                                             No. 24-1040
            v.

U.S. ENVIRONMENTAL PROTECTION AGENCY
and MICHAEL S. REGAN, Administrator, U.S. EPA,

                     Respondents.

STATE OF OKLAHOMA, by and through its
Attorney General, GENTNER DRUMMOND, et al.,

                     Petitioners,
                                                             No. 24-1043

            v.
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U.S. ENVIRONMENTAL PROTECTION AGENCY
and MICHAEL S. REGAN, Administrator, U.S. EPA,

                       Respondents.

                 UTAH AND OKLAHOMA PETITIONERS’
               MOTION TO GOVERN FUTURE PROCEEDINGS

 Sean D. Reyes                                Gentner Drummond
    Attorney General of Utah                      Attorney General of Oklahoma
 Stanford E. Purser                           Garry M. Gaskins, II
    Utah Solicitor General                        Solicitor General
    Counsel of Record                         Zach West
 Office of the Utah Attorney General              Director of Special Litigation
 160 E. 300 S., 5th floor                     Jennifer L. Lewis
 Salt Lake City, UT 84114-2320                    Deputy Attorney General
 801-538-9600                                 Office of Attorney General
 spurser@agutah.gov                           State of Oklahoma
                                              313 N.E. 21st Street
 William L. Wehrum                            Oklahoma City, OK 73105
 WEHRUM ENVIRONMENTAL LAW LLC                  405-521-3921
 1629 K Street, NW, Suite 300                 garry.gaskins@oag.ok.gov
 Washington, D.C. 20006
 302-300-0388                                 Attorneys for Petitioner State of
 William_Wehrum@comcast.net                   Oklahoma, by and through its Attorney
                                              General, Gentner Drummond, and
 Attorneys for Petitioner State of Utah
                                              Oklahoma Department of Environmental
                                              Quality


*Additional counsel listed on the signature page.
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      Pursuant to this Court’s April 24, 2024 Order, the parties have conferred on

their respective proposals to govern further proceedings in an effort to reach an

agreement on as many issues as possible. However, due to the parties’ fundamental

disagreements on abeyance, procedural consolidation, and briefing schedules,

Petitioners the State of Utah, PacifiCorp, Deseret Generation & Transmission Co-

Operative, Utah Municipal Power Agency, and Utah Associated Municipal Power

Systems (“Utah Petitioners”); and State of Oklahoma, Oklahoma Department of

Environmental Quality, Oklahoma Gas & Electric Company, Tulsa Cement LLC,

Republic Paperboard, and Western Farmers Electric Cooperative (“Oklahoma

Petitioners”) submit the following separate motion:

                                   Background

      Petitioners are challenging EPA’s disapprovals of their respective state’s state

plans for implementing the Clean Air Act’s “Good Neighbor Provision,” 42 U.S.C.

§ 7410(a)(2)(D)(i)(I), with respect to the 2015 ozone national ambient air quality

standards. They have been pursuing their primary challenges to those plans in the

Tenth Circuit. But after EPA moved to transfer or dismiss those challenges based on

venue, Petitioners also filed protectively in this Court to preserve their right to

judicial review.

      In an order issued on June 27, 2023, this Court held those protective petitions

in abeyance while the primary challenges proceeded in the Tenth Circuit. See Order,
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No. 23-1102, Dkt. 2005201 (D.C. Cir. Jun. 27, 2023). In doing so, this Court rejected

EPA’s motion to expedite consideration of the protective petitions in this Court

while the primary regional challenges were pending. See id.

      The Oklahoma and Utah Petitioners proceeded to fully brief their challenges

in the Tenth Circuit in two sets of consolidated cases, one for the challenges to EPA’s

disapproval of the Utah state implementation plan and one for the challenges to

EPA’s disapproval of the Oklahoma state implementation plan. After briefing was

completed but before oral argument, on February 27, 2024, the Tenth Circuit issued

an opinion holding that venue was proper in this Court and accordingly transferred

the cases to this Court. Oklahoma v. EPA, 93 F.4th 1262 (10th Cir. 2024).

      In light of that transfer, this Court requested that parties file motions to govern

future proceedings concerning the transferred cases as well as the protective

petitions that had been held in abeyance. See Order, Nos. 23-1102, 24-1040, 24-

1043, Dkt. 2042800 at 2. Meanwhile, on March 28, 2024, Petitioners petitioned the

U.S. Supreme Court for a writ of certiorari to review the Tenth Circuit’s transfer

decision, which conflicts with venue rulings from the Fourth, Fifth, Sixth, and Eighth

Circuits. See Oklahoma v. EPA, No. 23-1067; PacifiCorp v. EPA, No. 23-1068.

Then, in their motion to govern, Petitioners requested that this Court hold the cases

in abeyance pending the outcome of the Supreme Court proceedings, whereas EPA

urged the Court to press forward despite those proceedings.
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      On April 24, 2024, this Court agreed with Petitioners and determined it was

appropriate to continue to hold Utah and Oklahoma Petitioners’ consolidated cases

in Docket No. 23-1102 in abeyance for an additional 90 days, and also hold the

transferred cases in Docket Nos. 24-1040 and 24-1043 in abeyance, so as to allow

time for the Supreme Court to decide whether to grant the Petitioners’ petitions for

writ of certiorari seeking review of the Tenth Circuit’s transfer order. See Order,

Nos. 23-1102, 24-1040, 24-1043, Dkt. 2051205 at 2.

      Meanwhile, in the Supreme Court proceedings, EPA sought and received an

extension on their response to Petitioners’ petitions, which had been filed nearly two

months before the due date.1 When EPA filed its response, it notably did not oppose

the petitions. Rather, it “agree[d] with petitioners that [the Supreme Court] should

provide guidance to the courts of appeals regarding the proper application of Section

7607(b)(1),” the venue provision that controls these cases.2 EPA instead merely

requested that the Supreme Court grant certiorari in a different case it considered a

better vehicle, Calumet Shreveport Refining, L.L.C., No. 23-1229, and “hold

[Petitioners’] petitions pending the Court’s decision in that case.”3 But, since EPA



1
  See Motion to Extend Time, Oklahoma v. EPA, No. 23-1067 (filed Apr. 23, 2024);
Motion to Extend Time, PacifiCorp v. EPA, No. 23-1068 (filed Apr. 23, 2024).
2
  See Brief for the Federal Respondents, Oklahoma v. EPA, No. 23-1067 at 9 (filed
May 21, 2024); Brief for the Federal Respondents, PacifiCorp v. EPA, No. 23-1068
(filed May 21, 2024).
3
  See id. at 10.
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did not file its petition for writ of certiorari in Calumet until May 20, 2024, the

Supreme Court did not have an opportunity to consider that petition before its

summer recess. Accordingly, despite Petitioners’ petitions being fully briefed in time

for consideration by the Supreme Court before its summer recess, the Supreme Court

has not yet done so, presumably because EPA requested the Court delay

consideration so that it could consider the Calumet petition after fully briefed. See

Oklahoma v. EPA, No. 23-1067, Dkt. 6 (May 28, 2024); PacifiCorp v. EPA, No. 23-

1068, Dkt. 6 (May 28, 2024).

                                    Motion to Govern

      A. Abeyance. This Court should continue to hold all challenges in abeyance

pending a decision by the Supreme Court on whether to grant the Petitioners’

petitions for writ of certiorari seeking review of the Tenth Circuit’s transfer order.

Petitioners acted expeditiously in seeking Supreme Court review. Although the

deadline for filing the petitions for writ of certiorari was May 27, 2024, Petitioners

filed them nearly two months early, on March 28, 2024. Petitioners did so to allow

the Supreme Court to consider the petitions before its summer recess. Briefing was

completed for these petitions on May 30, 2024.

      Importantly, EPA made clear in its responses to Petitioners’ petition that it

does not oppose certiorari and instead “agrees with petitioners that [the Supreme

Court] should provide guidance to the courts of appeals regarding the proper
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application of Section 7607(b)(1).”4 That makes Petitioners’ already strong case for

certiorari to resolve this widely acknowledged circuit split even stronger—and

review of the venue issue in this case unusually likely.

      EPA’s principal point of divergence from Petitioners is that it would prefer

that the Court address these venue questions by granting its later-filed petition in

EPA v. Calumet Shreveport Refining, L.L.C., No. 23-1229, and then “hold

[Petitioners’] petitions pending the Court’s decision in that case.”5 But while

Petitioners continue to believe that their petitions present the better vehicle, whether

the immediate disposition is a grant or a hold makes little difference for the

abeyance. Either way—i.e., whether the Supreme Court grants Petitioners’ petition

(perhaps in addition to granting EPA’s petition in Calumet) or grants EPA’s petition

in Calumet and holds Petitioners’ petitions—the Supreme Court will have agreed to

address this venue issue in a way that directly impacts the Tenth Circuit’s transfer

decision.

      There is every reason to continue the abeyance in these circumstances, since

the parties are in extraordinary consensus in urging the Supreme Court to take up the

fundamental venue questions that go to the very core of this Court’s ability to decide



4
  See Brief for the Federal Respondents, Oklahoma v. EPA, No. 23-1067 at 9 (filed
May 21, 2024); Brief for the Federal Respondents, PacifiCorp v. EPA, No. 23-1067
(filed May 21, 2024).
5
  See id. at 10.
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these challenges. Disrupting the abeyance status quo would potentially waste the

parties’ and the Court’s resources on cases that may ultimately be decided elsewhere

if the Supreme Court decides those venue issues in Petitioners’ favor. Assuming that

EPA timely completes the briefing in Calumet, the Supreme Court should be able to

consider both Calumet and Petitioners’ petitions in its September 30, 2024

conference. That few additional months of delay makes eminent sense in light of the

high prospects for Supreme Court review that all parties acknowledge.

        Lastly, it is worth noting that Petitioners did their utmost to ensure a more

expeditious resolution of their petitions for writ of certiorari, but the delay in

consideration of them until after the summer recess was at EPA’s behest.

Specifically, EPA did not oppose certiorari but instead urged the Court to postpone

ruling on Petitioners’ petitions pending its petition in Calumet. And, whereas

Petitioners filed their petitions nearly two months early in these cases and waived

the default 14-day waiting period for distribution of their petitions to further expedite

consideration, EPA sought and received an extension both to respond to Petitioners’

petition and to file its petition in Calumet. See Oklahoma v. EPA, No. 23-1067;

PacifiCorp v. EPA, No. 23-1067; EPA v. Calumet Shreveport Refining, L.L.C., No.

23A903. It is inequitable for EPA to urge delay at the Supreme Court while both

opposing abeyance because of that delay and attempting to expedite proceedings

here.
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      B. Consolidation. Petitioners continue to oppose EPA’s request to

consolidate all remaining challenges apart from that of Nevada Cement’s protective

filing (No. 23-1115). There is no need for the Court to do anything—consolidation

or otherwise—if it continues to keep the cases abated as Petitioners request. The

usual course in that instance would be to maintain the status quo until the abeyance

is lifted. That would be the point at which to consider procedural issues like

consolidation or intervention.

      In any event, consolidation would not make sense even if the abeyance is

lifted. The Utah and Oklahoma Petitioners’ separate challenges should proceed on a

state-specific basis due to the unique procedural posture and issues involved for each

state group. State implementation plans are by nature state specific. And the Tenth

Circuit ordered merits briefing on a state-specific basis—separately for Utah

Petitioners and Oklahoma Petitioners—prior to transfer. See Order, Oklahoma v.

EPA, No. 23-9514, Doc. 010110866208 (10th Cir. May 30, 2023); Order, Utah v.

EPA, No. 23-9509, Doc. 010110866083 (10th Cir. May 30, 2023). The Nevada

challenges have never been briefed, and the Ninth Circuit has retained jurisdiction

over those challenges. This Court should retain the state-specific approach that has

dictated prior proceedings in these challenges.
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      C. Expedition. Petitioners oppose EPA’s request for expedited consideration.

This Court grants expedition “very rarely.” Handbook at VIII.B. To jump the line,

movants must make a “strongly compelling” showing of an urgent need for

immediate review. Id. EPA has “failed to articulate [any] ‘strongly compelling’

reasons that would justify expedition in this case.” Am. Lung Ass’n v. EPA, No. 96-

1251, 1996 WL 734086, at *1 (D.C. Cir. Nov. 15, 1996); Purepac Pharm. Co. v.

Thompson, No. 02-5410, 2003 WL 174023, at *1 (D.C. Cir. Jan. 21, 2003) (same).

EPA cannot plausibly complain that any “delay will cause [it] irreparable injury,”

Handbook at VIII.B, where EPA has delayed the Supreme Court proceeding and

requested that the Supreme Court hold Petitioners’ petitions for writ of certiorari

pending resolution of a different, later-filed venue petition. It would be unreasonable

for this Court to expedite consideration of Petitioners’ challenges where it is by no

means clear that this Court is the proper venue for these challenges.

      D. Briefing Schedule. Petitioners maintain that, given the pending petitions

for writ of certiorari and Petitioners’ request for a continued abeyance, it is

premature to propose a briefing schedule. In any event, Petitioners oppose EPA’s

proposed briefing schedule. EPA’s suggested format would invert the normal course

of briefing in which the petitioners have the last word and instead give the

respondent the final say with their last-filed supplemental brief.
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      DATED: July 5, 2024

                                 Respectfully Submitted,

                                 /s/ Stanford E. Purser
                                 Sean D. Reyes
                                        Attorney General of Utah
                                 Stanford E. Purser
                                        Solicitor General
                                        Counsel of Record
                                 Office of the Attorney General
                                 160 E. 300 S., 5th floor
                                 Salt Lake City, UT 84111
                                 801-366-0533
                                 spurser@agutah.gov

                                 William L. Wehrum
                                 WEHRUM ENVIRONMENTAL LAW LLC
                                 1629 K Street, N.W., Suite 300
                                 Washington, D.C. 20006
                                 302-300-0388
                                 William_Wehrum@comcast.net

                                 Emily C. Schilling
                                 HOLLAND & HART LLP
                                 222 S. Main Street, Suite 2200
                                 Salt Lake City, UT 84101
                                 Ph. 801-799-5753 / Fax 202-747-6574
                                 ecschilling@hollandhart.com

                                 Kristina (Tina) R. Van Bockern
                                 Aaron B. Tucker
                                 HOLLAND & HART LLP
                                 555 Seventeenth Street, Suite 3200
                                 Denver, CO 80202
                                 Ph. 303-295-8107 / Fax 720-545-9952
                                 trvanbockern@hollandhart.com
                                 abtucker@hollandhart.com

                                 Attorneys for Petitioner State of Utah
USCA Case #23-1113   Document #2063185       Filed: 07/05/2024   Page 12 of 17



                                 /s/Steven J. Christiansen
                                 Steven J. Christiansen
                                 David C. Reymann
                                 PARR BROWN GEE & LOVELESS, PC
                                 101 South 200 East, Suite 700
                                 Salt Lake City, Utah 84111
                                 schristiansen@parrbrown.com
                                 dreymann@parrbrown.com

                                 Attorneys for Petitioner Deseret Generation
                                 & Transmission Co-Operative

                                 /s/Misha Tseytlin
                                 Misha Tseytlin
                                       Counsel of Record
                                 Kevin M. Leroy
                                 Emily A. O’Brien
                                 TROUTMAN PEPPER
                                 HAMILTON SANDERS LLP
                                 227 W. Monroe Street Suite 3900 Chicago,
                                 IL 60606
                                 608-999-1240 (MT)
                                 312-759-1938 (KL)
                                 312-759-5939 (EO)
                                 312-759-1939 (fax)
                                 misha.tseytlin@troutman.com
                                 kevin.leroy@troutman.com
                                 emily.obrien@troutman.com

                                 Carroll Wade McGuffy III
                                 Melissa Horne
                                 TROUTMAN PEPPER
                                 HAMILTON SANDERS LLP
                                 600 Peachtree St. N.E. Suite 3000 Atlanta,
                                 GA 30308
                                 404-885-3698 (CM)
                                 404-885-3286 (MH)
                                 mack.mcguffey@troutman.com
                                 melissa.horne@troutman.com
USCA Case #23-1113   Document #2063185       Filed: 07/05/2024   Page 13 of 17



                                 Marie Bradshaw Durrant
                                 Assistant General Counsel
                                 Christian C. Stephens
                                 Senior Attorney
                                 PACIFICORP
                                 1407 North Temple Suite 320 Salt Lake
                                 City, UT 84116
                                 801-220-4707 (MD)
                                 801-220-4526 (CS)
                                 marie.durrant@pacificorp.com
                                 christian.stephens@pacificorp.com

                                 Attorneys for Petitioner PacifiCorp

                                 /s/Artemis D. Vamianakis
                                 H. Michael Keller
                                 Artemis D. Vamianakis
                                 FABIAN VANCOTT
                                 95 South State Street, Suite 2300
                                 Salt Lake City, Utah 84111
                                 801-531-8900
                                 mkeller@fabianvancott.com
                                 avamianakis@fabianvancott.com

                                 Attorneys for Petitioner Utah Associated
                                 Municipal Power Systems

                                 /s/Alan I. Robbins
                                 Alan I. Robbins
                                 Debra D. Roby
                                 Thomas B. Steiger
                                 WASHINGTON ENERGY LAW LLP
                                 900 17th St. NW
                                 Suite 500-A
                                 Washington, D.C. 20006
                                 703-785-9270
                                 arobbins@washingtonenergylaw.com
                                 droby@washingtonenergylaw.com
                                 tsteiger@washingtonenergylaw.com
USCA Case #23-1113   Document #2063185       Filed: 07/05/2024   Page 14 of 17



                                 Attorneys for Petitioner Utah
                                 Municipal Power Agency

                                 /s/ Michael B. Schon
                                 Michael B. Schon
                                 LEHOTSKY KELLER COHN LLP
                                 200 Massachusetts Ave NW
                                 Washington, DC 20001
                                 202-436-4811
                                 512-693-8350
                                 mike@lkcfirm.com

                                 Mithun Mansinghani
                                 LEHOTSKY KELLER COHN LLP
                                 629 W. Main Street
                                 Oklahoma City, OK 73102
                                 512-693-8350
                                 mithun@lkcfirm.com

                                 /s/ Garry M. Gaskins, II
                                 Gentner Drummond
                                        ATTORNEY GENERAL OF OKLAHOMA
                                 Garry M. Gaskins, II
                                        SOLICITOR GENERAL
                                 Zach West
                                        DIRECTOR OF SPECIAL LITIGATION
                                 Jennifer L. Lewis
                                        DEPUTY ATTORNEY GENERAL
                                 Office of Attorney General
                                 State of Oklahoma
                                 313 N.E. 21st Street
                                 Oklahoma City, OK 73105
                                  405-521-3921
                                 garry.gaskins@oag.ok.gov

                                 Attorneys for Petitioner State of Oklahoma,
                                 by and through its Attorney General,
USCA Case #23-1113   Document #2063185      Filed: 07/05/2024   Page 15 of 17



                                 Gentner Drummond, and Oklahoma
                                 Department of Environmental Quality

                                 /s/ Megan Berge
                                 Megan Berge
                                 Sarah Douglas
                                 Baker Botts L.L.P.
                                 700 K Street N.W.
                                 Washington, D.C. 20001
                                 415-291-6233
                                 202-639-7733

                                 J. Mark Little
                                 Baker Botts L.L.P.
                                 910 Louisiana Street
                                 Houston, TX 77002
                                 713-229-1489

                                 Attorneys for Petitioners Oklahoma Gas and
                                 Electric Company, Tulsa Cement and
                                 Republic Paperboard, and Western Farmers
                                 Electric Cooperative
USCA Case #23-1113     Document #2063185          Filed: 07/05/2024   Page 16 of 17



                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this document complies with the format and word limit

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      DATED: July 5, 2024

                                           /s/ Megan Berge
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this July 5, 2024, I filed the foregoing response with

the Clerk of the Court using the CM/ECF System, which will send notice of such

filing to all registered CM/ECF users.


      DATED: July 5, 2024

                                             /s/ Megan Berge
